      Case 20-61931-jwc          Doc 104     Filed 09/08/23 Entered 09/08/23 13:42:29                  Desc Order
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                                    UNITED STATES BANKRUPTCY COURT

                                             Northern District of Georgia


In     Debtor(s)
Re:    Ben Dailey & Son, LLC                                 Case No.: 20−61931−jwc
       710 Windsor Parkway                                   Chapter: 7
       Atlanta, GA 30342                                     Judge: Jeffery W. Cavender

       47−0972458




                    ORDER APPROVING TRUSTEE'S REPORT OF NO DISTRIBUTION,
                          DISCHARGING TRUSTEE AND CLOSING ESTATE



It appearing to the Court that

                                                   Edwin K. Palmer



the Trustee in said case, has filed a report of no distribution and that said Trustee has performed all other and further
duties as required in the administration of said estate;

IT IS THEREFORE ORDERED that said report be and it hereby is approved and that the said estate be and it
hereby is closed; that the Trustee be and hereby is discharged from and relieved of the trust.




                                                             Jeffery W. Cavender
                                                             United States Bankruptcy Judge


Dated: September 8, 2023
Form 184
